Case 1:09-cr-20264-JLK Document 1 Entered on FLSD Docket 04/08/2009 Page 1 of 2

UNITED STATES DISTRICT COURT
A DISTRI

9=20264 cr: xing

MABISTRATE JUL
C
IN RE SEALED INDICTMENT FILED AINA C.

CASE N

 

 

MAR 2 6 2009

STEVEN M. LARI
CLERK U.S. DIST ee
MOTION TO SEAL S.D. of FLA.— MIAMI

 

 

 

The United States respectfully requests that the indictment, arrest warrants, and any resulting
order be SEALED until the arrest of the first defendant, or further order of the Court, excepting the
United States Attorney’s Office, which may obtain copies of any indictment, arrest warrant, or other
sealed document for purposes of arrest, extradition, or any other necessary cause. In support of its
motion, the United States avers as follows:

If the indictment, arrest warrants, and/or any resulting orders are not sealed, the defendants
might flee and the integrity of the ongoing investigation might be compromised. If the indictment
and arrest warrants are not sealed, the defendants may learn of the indictment or arrest warrants and

flee to avoid prosecution.
Case 1:09-cr-20264-JLK Document 1 Entered on FLSD Docket 04/08/2009 Page 2 of 2

Accordingly, the United States respectfully requests that the indictment, arrest warrants, and

any resulting order be SEALED until the arrest of the first defendant, or further order of the Court.

By:

Respectfully submitted,

R. ALEXANDER ACOSTA

UNITED STATES ATTORNEY
LL

Russell Koonin

Assistant United States Attorney
Fla. Bar. No. 0474479

99 Northeast 4th Street

Miami, Florida 33132-2111

Tel: (305) 961-9314

Fax: (305) 530-7087

russell. koonin@usdoj.gov
